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                        Exhibit 4
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12/22/2020                                                                                    | Facebook

                                                                     1                                                                              4




             Group Posts                                                                                         Message




             Intro                                                       Group Posts
                 Member of DECN Shareholders Group since
                 November 5, 2020
                                                                                                    DECN Shareholders Group
                                                                                7m ·

                                                                         I got my "investigational" kit today, watched the instructional video on
             Recent Photos                                               line (very helpful) but didn't do my test yet. The kit looks very nice
                                                                         and professional!




             Recent Activity
                                     liked
                     comment: "Looks great 👍 Awesome"

                                      liked
                     comment: "Congratulations please I
                     would love to see you in action thanks..."                 17                                                       21 Comments

                                        replied to                                          Like                                 Comment
                                    comment:
                     I believed all along, but it is very exciting
                     to hold it!"
                                                                                            can I borrow a xmas tree, elf on the shelf, a
                                                                                bow, anything to make mine more in the holiday spirit???
                                                                                                                                               6
                                                                                Like · Reply · 6m


                                                                                            saying the test is real?
                                                                                                                         4
                                                                                Like · Reply · 6m
                                                                                                                                                        0

                                                                                                      definitely! I didn't try it yet, but
https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                                       1/10


                                                                                                                                   DOJ-BERMAN_043894
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12/22/2020                                                                               | Facebook
                                                                                       p                     y          y   y
                                                        1                      definitely real                                                     4
                                                                                                                                               4
                                                                               Like · Reply · 5m



                                                                                               no those pictures are photoshopped
                                                                               obviously       (sarcasm)
                                                                                                                                               2
                                                                               Like · Reply · 5m


                                                                                                         unfortunately not sarcasm for
                                                                               some on here...
                                                                                                                                               2
                                                                               Like · Reply · 4m


                                                                                              omeone will bring this up as “people
                                                                               were calling it photo shopped” lmao
                                                                               Like · Reply · 4m


                                                                                                       yup give it 30 minutes. Ymb will
                                                                               misquote me
                                                                                                                                               1
                                                                               Like · Reply · 2m

                                                                               Write a reply…
                                                                            Press Enter to post.



                                                                        Thats amazing!!            5
                                                                        Like · Reply · 5m


                                                                                     ou for sharing this with us. It sounds like
                                                                        you are encouraged by holding the actual product.
                                                                                                                                               6
                                                                        Like · Reply · 5m


                                                                                                        I believed all along, but it is very
                                                                               exciting to hold it!
                                                                                                                                               1
                                                                               Like · Reply · 3m


                                                                        Congratulations please I would love to see you in action
                                                                        thanks...
                                                                                                                                               6
                                                                        Like · Reply · 5m


                                                                                    at      Awesome
                                                                                                         5
                                                                        Like · Reply · 5m


                                                                                       please try to video the test in action if you
                                                                        can....that would be awesome
                                                                                                                                               4
                                                                        Like · Reply · 5m


                                                                                            do people really think I am going to
                                                                               spit in public??? Lol
                                                                                                                                               3
                                                                               Like · Reply · 4m


                                                                                nderstand why these would be sent to
                                                                        investors...someone please explain.
                                                                                                                                               2
                                                                        Like · Reply · 4m


                                                                                          why not? This board is screaming for
                                                                               validation or class action lawsuits - YOUR CEO IS
                                                                               TRYING TO PUT YOUR DOUBTS AT EASE!
                                                                               Like · Reply · 2m · Edited                                              0




https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                                      2/10


                                                                                                                                DOJ-BERMAN_043895
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12/22/2020                                                                                | Facebook
                                                                                         Fyfe
                                                        1                         Todd Lipton then why not hold a press conference           4
                                                                                  and show the product in action to the world?

                                                                                  Like · Reply · 1m


                                                                                           What don’t you understand? KB likes
                                                                                  them much more than you...
                                                                                                                                         2
                                                                                  Like · Reply · 1m


                                                                                             t's an investigational kit, not for sale,
                                                                                  but used in clinical testing.
                                                                                  Like · Reply · 1m

                                                                             View 1 more reply

                                                                                  Write a reply…
                                                                                Press Enter to post.



                                                                        Great to see this post along with
                                                                                                                              4
                                                                        Like · Reply · 3m

                                                                        Write a comment…
                                                                    Press Enter to post.




                                                                                                DECN Shareholders Group
                                                                        21h ·

                                                              I think this will make a difference...Spoke w my lawyer friend about the
                                                              downfall of XPRIZE. Even though XPRIZE is no longer an opportunity
                                                              for us, he agreed with RubyandAaron Thomas Hedin (fb member) to
                                                              write a letter to XPRIZE expressing what unjustly took place. He said
                                                              “it’s all in the numbers!". Therefore he recommended emails from at
                                                              least 100 people in the hopes of getting heard. The more emails they
                                                              get, the more noise me make, the more we get heard! If you wrote an
                                                              email, can you please just type “YES” in the comments. This way we
                                                              know how many emails we need. We have a working product that met
                                                              the requirements of XPRIZE. It's effective, highly accurate, and
                                                              affordable yet we were unfairly disqualified. If there is ANY chance
                                                              that our emails can help, let’s fight the fight! We’re all disheartened
                                                              and in this together!
                                                              EMAIL TO covidtesting@xprize.org
                                                              SAMPLE LETTER:
                                                              If someone needs a sample letter:
                                                              To Whom it May Concern:
                                                              I am very disappointed that the GenViro Saliva test was unfairly
                                                              removed from the XPRIZE competition, based on "allegations" against
                                                              the CEO, which had nothing to do with their high quality Rapid Saliva
                                                              test. If the purpose of the XPRIZE competition was to safely open
                                                              schools, businesses, airports, restaurants, rejoin families, etc, then how
                                                              can you disqualify a test that can do just that? If the goal of the
                                                              XPRIZE Competition is to bring such a product to market and save
                                                              lives, you made a bad choice by eliminating the Rapid GenViro Saliva
                                                              Kit. Please reconsider this choice.
                                                              Sincerely,

                                                                        25                                                     118 Comments

                                                                                       Like                              Comment

                                                              View 39 more comments

                                                                                                                                                 0

                                                                        Yes by proxy            2
https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                                3/10


                                                                                                                           DOJ-BERMAN_043896
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12/22/2020                                                                             | Facebook

                                                        1               Like · Reply · 13h                                                          4




                                                                        Has anyone received 1 response from emails? This 1 guy
                                                                        sends a message to xprize and decn is disqualified in 2
                                                                        hours. Yet all these messages with no response???
                                                                                                                                                2
                                                                        Like · Reply · 13h · Edited


                                                                                                                 nope. But it doesn't mean we
                                                                                won't be heard.
                                                                                Like · Reply · 13h


                                                                                                I agree, be heard. Looking for
                                                                                confirmation that xprize says they were in the mix
                                                                                for the final running and removed. It gives
                                                                                confirmation beyond what was posted on decns
                                                                                site from a third party.
                                                                                Like · Reply · 13h

                                                                              View 1 more reply


                                                                                                 2
                                                                        Like · Reply · 13h




                                                                                                     2
                                                                        Like · Reply · 13h



                                                                                                     2
                                                                        Like · Reply · 13h



                                                                                             2
                                                                        Like · Reply · 12h



                                                                                                             2
                                                                        Like · Reply · 12h


                                                                        We need more emails. If anyone hasn't written to
                                                                        covidtesting@xprize.org please write to them and type
                                                                        YES like others have done. LET'S GET OUT VOICES
                                                                        HEARD!
                                                                                                                                                1
                                                                        Like · Reply · 12h


                                                                        I counted 46 so far
                                                                                                         1
                                                                        Like · Reply · 12h


                                                                        Yes
                                                                                                                  2
                                                                        Like · Reply · 12h


                                                                                    9 but there are some who wrote letters based
                                                                        on RubyandAaron Thomas Heden's original post that
                                                                        didn't write yes on mine.
                                                                        Like · Reply · 12h


                                                                                             , good progress for us, not bad
                                                                                                                                      1
                                                                        Like · Reply · 12h

                                                                                                                                                         0
                                                                        Yes x2                   2

https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                                        4/10


                                                                                                                                     DOJ-BERMAN_043897
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12/22/2020                                                                             | Facebook
                                                                        Like · Reply · 11h
                                                        1                                                                                     4




                                                                        My list and RubyandAaron Thomas Hedin's list makes 61
                                                                        known emails to XPRIZE. We want to reach at least 100
                                                                        emails. There are 600 of us in this FB group. If you
                                                                        haven't emailed XPRIZE, please take a few minutes to
                                                                        express your disappointment in the G… See More
                                                                                                                                          1
                                                                        Like · Reply · 11h



                                                                                                 2
                                                                        Like · Reply · 11h


                                                                                                   w if there is a way to tag all in
                                                                        the group to get their attention but we have less than
                                                                        10% of the group emailing XPRIZE. I would think people
                                                                        would be more fired up on something that affects their
                                                                        money so I am guessing pe… See More
                                                                                                                                          3
                                                                        Like · Reply · 11h


                                                                                                                great idea. I don't
                                                                                know how to do that. I'll see what I can find out.
                                                                                Thanks!
                                                                                                                                          2
                                                                                Like · Reply · 10h


                                                                                                               you have to realize
                                                                                as well, a large number of people in here are secret
                                                                                bashers/spies.
                                                                                                                                          2
                                                                                Like · Reply · 9h



                                                                                             2
                                                                        Like · Reply · 10h




                                                                                                       2
                                                                        Like · Reply · 10h




                                                                        Like · Reply · 9h




                                                                        Like · Reply · 9h


                                                                        Yes
                                                                        Like · Reply · 9h


                                                                        Can we all write the same letter. Can someone write a
                                                                        sample of the letter we can all copy and paste. thanks
                                                                        Like · Reply · 9h


                                                                                                              I sent you a copy of my email
                                                                                in a private message
                                                                                Like · Reply · 8h


                                                                                                     Thank you..
                                                                                Like · Reply · 8h

                                                                              View 2 more replies                                                 0




https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                                 5/10


                                                                                                                             DOJ-BERMAN_043898
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12/22/2020                                                                                 | Facebook
                                                                        Floyd Bradshaw
                                                        1               Yes                                                                  4

                                                                        Like · Reply · 9h




                                                                        Like · Reply · 9h




                                                                        Like · Reply · 9h


                                                                        YES
                                                                        Like · Reply · 9h


                                                                        Yes
                                                                        Like · Reply · 8h




                                                                        Like · Reply · 8h




                                                                        Like · Reply · 8h




                                                                        Like · Reply · 7h




                                                                        Like · Reply · 7h


                                                                        Yes.
                                                                        Like · Reply · 7h


                                                                        Yes
                                                                        Like · Reply · 7h




                                                                        Like · Reply · 7h


                                                                                       IZE,
                                                                        How could it possibly be, the decision to eliminate a
                                                                        contender based upon an indictment of one employee?
                                                                        What happened to innocent until proven guilty in a court
                                                                        of law?… See More
                                                                        Like · Reply · 7h


                                                                                  needs a sample letter:
                                                                        To Whom it May Concern:… See More
                                                                        Like · Reply · 7h


                                                                                                   this letter is on point and simple! Can
                                                                                   you put this out on the announcement to highlight
                                                                                   it? I'm sure this will help to escalate more letters.


                                                                                   Like · Reply · 7h · Edited


                                                                                                   announcement?
                                                                                                                                                 0
                                                                                   Like · Reply · 7h

                                                                              Vi       6               li
https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                                6/10


                                                                                                                           DOJ-BERMAN_043899
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12/22/2020                                                       (4)                   | Facebook
                                                                            View 6 more replies
                                                        1                                                                              4

                                                                        Patricia Wolter




                                                                        GIPHY


                                                                        Like · Reply · 7h


                                                                                                    made me laugh!!!
                                                                                Like · Reply · 7h


                                                                                   ....good to hear! We all need to laugh during
                                                                                these CrAzY times! Thank you for orchestrating this
                                                                                "email movement" to Xprize. There is power in
                                                                                numbers!
                                                                                Like · Reply · 6h


                                                                        keep in mind XPRIZE is a non-profit organization.
                                                                        Negative PR for a nonprofit will get their attention. Keep
                                                                        the emails respectful but point out the hypocrisy of
                                                                        disqualifing Team GenViro. None of the finalist tests
                                                                        provide results in under 10 minut… See More
                                                                        Like · Reply · 7h


                                                                                                      did you think my sample letter
                                                                                wasn't respectful?
                                                                                Like · Reply · 7h


                                                                                               er very much, I was just cautioning
                                                                                for others to be respectful so we are taking
                                                                                seriously.
                                                                                Like · Reply · 6h

                                                                            View 1 more reply




                                                                        Like · Reply · 7h




                                                                        Like · Reply · 5h




                                                                        Like · Reply · 5h


                                                                                amily members not part of this group, but
                                                                        invested, so informed them to email and they did.
                                                                                                                                             0
                                                                        Like · Reply · 5h

https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                            7/10


                                                                                                                         DOJ-BERMAN_043900
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12/22/2020                                                                             | Facebook

                                                        1               Tim Mergen                                                       4
                                                                        Yes

                                                                        Like · Reply · 4h


                                                                        It is mind blowing that you have decided to terminate
                                                                        DECN from competing in the race for test kits for COVID-
                                                                        19.
                                                                        There is NO current judgment against the CEO and in
                                                                        fact the SEC has authorized the CEO to keep working on
                                                                        the Saliva Test as it has not… See More
                                                                        Like · Reply · 4h


                                                                                     have 78-ish so far
                                                                        Like · Reply · 3h


                                                                                  mily member also invested
                                                                        Like · Reply · 3h




                                                                        Like · Reply · 3h


                                                                                     D COUNTING
                                                                        Like · Reply · 3h


                                                                        Almost to 100....
                                                                        Like · Reply · 3h


                                                                        two emails from my other email accounts
                                                                        Like · Reply · 2h


                                                                                                w.xprize.org/.../xprize-rapid-covid-
                                                                               testing...


                                                                                                    XPRIZE.ORG
                                                                                                    FINALISTS SELECTED IN $6
                                                                                                    MILLION XPRIZE RAPID COVI…

                                                                               Like · Reply · 2h



                                                                                            1
                                                                        Like · Reply · 2h




                                                                        Like · Reply · 2h


                                                                        Yes
                                                                        Like · Reply · 23m

                                                                        Write a comment…
                                                                   Press Enter to post.




                                                                                                                                                0




https://www.facebook.com/groups/2401005873541770/user/100056695334894                                                                               8/10


                                                                                                                            DOJ-BERMAN_043901
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12/22/2020                                                              | Facebook

                                                        1                                         4




                                                                                                         0




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                                                                                     DOJ-BERMAN_043902
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12/22/2020                                                              Facebook

                                                        1                                       4




                                                                                                       0




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                                                                                   DOJ-BERMAN_043903
